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                                                                                       January 3, 2017
         BY ECF AND HAND DELIVERY
         The Honorable Richard G. Andrews
         United States District Court for the District of Delaware
         844 North King Street
         Wilmington, DE 19801

                Re: MiiCs v. Toshiba and MiiCs v. Funai, 14-803 and 14-804

         Dear Judge Andrews:

                 Defendants Toshiba and Funai and Intervenor Samsung Display Co. (“SDC”)
         (collectively, “Defendants”) write in response to Plaintiffs’ January 2 discovery letter (14-803
         D.I. 281, 14-804 DI 293), in advance of the hearing at 1:30 p.m. tomorrow.
                                                     Background
                 This dispute arises after several months of unsuccessful attempts to get Plaintiffs to
         provide validity contentions. Though SDC served an interrogatory last August calling for “the
         full basis for Your contention that the claims are not invalid,” Exhibit E, and followed up with a
         long stream of deficiency letters and emails, see Exhibit F, Plaintiffs have yet to provide any
         substantive response to SDC’s interrogatory. While Plaintiffs promised in October that “MiiCs
         will supplement its response to Interrogatory No. 3,” id., they never did so. Rather, in November
         they took the position (for the first time) that they would not provide any validity contentions
         absent agreement or a Court ruling as to the total number of prior art references. See id.1
                 In a final effort to resolve the issue, and to obtain validity contentions sufficiently in
         advance of the expert report deadline, SDC proposed a compromise on December 19 in which
         Defendants would limit their prior art to 6 references per patent (a “reference” here means a
         prior-art publication or product), and SDC would grant Plaintiffs a two-week extension past the
         fact discovery period (i.e., through January 6) to provide their validity contentions. See Exhibit
         D. Plaintiffs rejected this compromise. While they agreed to the 6-per-patent limit, Plaintiffs
         further insisted on an overall limit of 20 references across the total of six patents asserted in the


         1Given the related nature of these issues, Delaware counsel for SDC and Plaintiffs discussed
         when scheduling the hearing that they could be resolved together, with the understanding that
         Plaintiffs would raise the prior art limits as the moving party.




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         two cases (which amounts to 31/3 references per patent), and on that basis raised this dispute with
         the Court. See id.
                  Plaintiffs’ January 2 letter erroneously states that Defendants’ proposal would result in “a
         total of 66 references” for the two cases. This statement could be true only if Defendants
         intended to identify an entirely distinct set of references in the two cases, even though the vast
         majority of the asserted claims and patents are the same in both. This was not Defendants’
         intent. To be clear, Defendants are proposing to identify a single set of prior art references for
         each patent, up to a limit of 6 references, for both cases. As a result, Defendants’ proposal would
         result in a collective limit of no more than 36 references across both cases.
                                                      Argument
                  The Court should adopt Defendants’ compromise on the prior art. Limiting the prior art
         to 6 references per patent, and thus no more than 36 references in total, is a significant reduction.
         It cuts the art asserted by well over 50%, and more than splits the difference as between overall
         limits of 66 and 20. Moreover, it reflects a good-faith proposal by Defendants and Intervenor to
         streamline the cases by using the same art in each of them, in recognition that five of the six
         patents-at-issue are asserted against both Toshiba and Funai. Finally, it is less than the total limit
         would be if the Court were to separately impose the 20-reference limit of the Federal Circuit
         Advisory Council’s model order in each case (for a collective total of 40).
                 A total collective limit of 20 references, as Plaintiffs now propose, is unduly limiting.
         Plaintiffs have asserted six disparate patents against Funai and five of them against Toshiba.
         None of the patents are related, and they cover diverse aspects of liquid crystal display (“LCD”)
         technologies ranging from the frame of a display panel (e.g., the ’927 patent), to the backlights
         used to light a LCD (e.g., the ’833 patent), all the way down to the methods of manufacturing the
         semiconductor and metal layers of a LCD’s thin film transistor array (e.g., the ’589 patent).
                 Although minimal overlap in the prior art exists with respect to the basic concepts behind
         LCDs, separate categories of references must be reviewed for the specific technologies set forth
         in the asserted claims of each of the patents. The differences in the asserted claims are further
         heightened by the differences in claim type, i.e., apparatus claims versus methods of fabrication,
         the details of which are not always set forth in the same references. Moreover, Defendants’
         invalidity defenses involve various obviousness combinations, which of course each require
         multiple references. For these reasons, limiting defendants to 20 total references—which works
         out to just 31/3 references per patent—is overly restrictive.
                 In support of their 20-reference limit, Plaintiffs point to a particular paragraph from a
         proposed model order from the Federal Circuit Advisory Council. This does not help Plaintiffs.
         First, Plaintiffs themselves are not in compliance with this paragraph, which includes
         corresponding limits on the permissible number of asserted claims that, despite their promises of
         future compliance, Plaintiffs admit they currently exceed. Second, this proposed order was not
         adopted by Federal Circuit as a model, and was in fact removed from the court’s website “since
         the court has not sponsored or endorsed the order[].”
         http://www.cafc.uscourts.gov/sites/default/files/model_orders.pdf. Third, even the paragraph in
         question specifically recognizes, in a footnote, that “[i]n cases involving several patent families
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         or diverse technologies, or disparate claims within a patent, the court should consider flexibly
         whether circumstances warrant expanding the limits on prior art.” Exhibit A, page 7, footnote 2
         (emphasis added). Finally, Plaintiffs provide no reason why the order should be applied to the
         cases collectively, as opposed to individually. Therefore, the Court should adopt Defendants’
         more sensible limit of six references per patent.
                 In connection with its consideration of proposed limits on the prior art that may be
         asserted, the Court should also set a date certain for Plaintiffs to provide a substantive response
         to the underlying discovery request that gave rise to this dispute. SDC’s Interrogatory No. 3
         requests “the full basis for Your contention that the claims are not invalid over the specific prior
         art and other grounds of invalidity identified in [Defendants’] Invalidity Contentions,” along
         with related documentation. Exhibit E. Other than their recent argument that the prior art should
         be limited—which Plaintiffs did not raise with SDC until late November—Plaintiffs have
         provided no justification for their refusal to provide such contentions. Apart from some
         boilerplate objections, Plaintiffs’ full response to this interrogatory reads as follows:
                Subject to and without waiving the foregoing objections, MiiCs hereby states that
                the asserted patents are presumed valid by statute, and objective evidence of non-
                obviousness includes at least the fact that the asserted patents have been licensed
                to other parties. MiiCs further states that no reference disclosed in SDC’s and/or
                Defendants’ Invalidity Contentions, alone or in combination, discloses each and
                every limitation of the asserted claims of the asserted patents and the asserted
                claims of the asserted patents are therefore not invalid under 35 U.S.C. §§ 102
                and 103 based upon the prior art disclosed by SDC and/or Defendants.
                MiiCs further notes that discovery is ongoing and hereby specifically reserves its
                right to supplement its response
         Exhibit E. This conclusory response is plainly deficient, as it fails to identify any specific basis
         for Plaintiffs’ alleged validity contentions, and fails to put the parties on notice of the positions
         Plaintiffs intend to take in this litigation.
                 Back in October, Plaintiffs successfully moved to compel one defendant to respond to a
         noninfringement interrogatory, arguing that “Funai should be compelled to disclose its
         noninfringement positions so that MiiCs can question Funai’s witnesses and address any alleged
         deficiencies of proof.” 14-804, D.I. 218, at 4. Yet Plaintiffs have failed to disclose their validity
         positions, precluding Defendants from following up on them during the fact discovery period.
         And Plaintiffs’ failure is now prejudicing Defendants’ ability to work with their experts to
         prepare initial expert reports.
                 Defendants made a good-faith offer to narrow their prior art down to 6 references per
         patent, and stand ready to do so. In turn, given that initial expert reports are due on January 20,
         Plaintiffs should be required to provide a full substantive response to SDC’s Interrogatory No. 3
         by no later than January 13.




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                                                        Respectfully submitted,

                                                        /s/ Adam W. Poff

                                                        Adam W. Poff

         cc:    Clerk of the Court
                Counsel of Record




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